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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 23-80064-CR-SMITH/MAYNARD


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  FRANK STANZIONE,

        Defendant.
                                      /

                     DEFENDANT’S SENTENCING MEMORANDUM

        The Defendant, Frank Stanzione, through counsel, files the following

  Memorandum in support of sentencing in this case. In support thereof, the Defendant

  states the following:

        1. The Nature of the Offense:

        This case involves words and speech. No party has ever contended in this case

  that the Defendant ever had an intention, or exhibited an intention to actually follow

  through with the threatening statements made in the voicemail left for former

  Representative Santos (“Santos”), or that the Defendant ever had the ability to carry

  out the conduct threatened in the voicemail. 1 This was abundantly clear to U.S.




  1 The Defendant did not contend at trial that the voicemail message he left was not
  a “threat.” He maintained that the threat did not rise to the level of a Constitutionally
  unprotected “true threat,” because it was not intentional conduct, not intended as a
  true threat, and was not serious. For a threat to be a felony offense, it must be
  intentional, and it must be serious.
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  Capitol Police less than 48-hours after the voicemail was left, when they interviewed

  the Defendant at his home in Florida. The agents have repeatedly admitted that the

  nature of their meeting with the Defendant that day was to determine whether he

  had the intention, capability, and ability to carry out the threats. The agents have

  repeatedly testified the Defendant had none of the three.

        This case involves a remote phone call. No party contends that the Defendant

  was at any time anywhere near former Representative Santos. The Defendant was at

  all times, distant from Santos. The parties never contended that the Defendant ever

  made any plans to travel for the purposes of actually confronting or physically

  harming Santos. This case involves an unusual set of facts (as evidenced by the

  Defendant’s selective prosecution motion) involving a single phone call the Defendant

  was remorseful for, and admitted was something he lost control of his emotions in,

  and did not originally intend to make as a threat call. The Defendant does not contend

  that all 875(c) prosecutions are unserious, and admits that such conduct can be very

  serious. The Defendant merely contends this is not such a fact pattern.

        As a case that involved no intention to carry out the threat; no ability to carry

  out the threat; no capability to carry out the threat; and a non-face-to-face, remote

  communication, it is clear that the offense conduct involves nothing other than

  communicated speech (not an overt act in furtherance of action). Such speech may

  still be criminal in nature, if it is “serious.” Eleventh Circuit Pattern Jury

  Instruction O30.3 (2016). Criminal laws that make such speech illegal are often the

  subject of Court opinions attempting to identify the line that distinguishes between



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  speech protected by the First Amendment and speech that is not protected. The lack

  of clarity involved in this subject is immediately apparent from the number of

  dissenting opinions in the most significant of those rulings. See. e.g. Counterman v.

  Colorado, 143 S.Ct. 2106 (2023); Elonis v. United States, 575 U.S. 723 (2016). The

  government also noted the complexity of speech based prosecutions during the

  arguments regarding the Defendant’s selective prosecution motion, noting:

               But there is a reason why the bar is so high, and I think
               that we shouldn't overstep that, Your Honor. The reason
               for that is that there are many different considerations that
               need to be given into a threat case. They are difficult to
               analyze at times because the determination needs to be
               met not only whether it actually qualifies as a true threat
               under the analysis that's been most recently laid out in
               Counterman v. Colorado which was 600 U.S. 66 issued this
               last June, but also looking back even to cases like Virginia
               v. Black or to the Watts case….


  [Motion to dismiss, transcript at Pages 122-23]. Yet, as written by Congress, laws

  regarding threatening communication appear to often operate contrary to common

  sense understandings of danger, or risk of harm.

        As an example, the Court may recall from DE:14, the Defendant referring the

  Court to United States Capitol police reports from that agency’s website describing

  cases handled in Washington, D.C. These reports in that exhibit read as follows:

            5/8/23 Threats to do bodily harm- misd. 230508001013 R/O
            responded to a House Office Building for a report of an individual
            making threats via phone. The Complainant stated the Suspect
            has been calling over the past couple of months making
            threatening comments. An email was sent to the Threats Section
            (TAS) of USCP by the Complainant notifying them of the incident.
            TAS will continue to investigate.



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            9/2/22 Threats to do bodily harm- misd 220902001334 R/O
            responded for a report of staff in distress in the Longworth House
            Office Building. The Complainant advised that the Suspect had
            called the office multiple times, indicated they were outside the
            building, and had threatened to inject the Complainant with a
            lethal substance. While the R/O was present, the Suspect called
            again and advised they were outside the New Jersey Avenue and
            C Street, SE, door of the Longworth House Office Building. The
            Assisting Officer (A/O) approached the Suspect at New Jersey
            Avenue and C Street, SE, where the Suspect confirmed they
            threatened the Complainant. The Suspect was placed under
            arrest and transported to Headquarters for processing.”

  https://www.uscp.gov/daily-arrests (last accessed June 30, 2023). What stands out

  from these reports was that, in the report from “9/2/22,” there was a threat of death

  by injection of a lethal substance to a member of Congress, and that the threats had

  been made “multiple times” via multiple calls. Most critically, the person making the

  threats was on-scene, and was arrested outside the Congressperson’s office building.

  Common sense dictates that this presence immediately outside the Congress

  member’s office building provides a far higher level of “ability” to carry out a threat

  “immediately.” Yet, the arrest was for a misdemeanor, and thus, less serious than the

  case involving this Defendant.

        Common sense would also appear to indicate that a person making a threat to

  harm another person, who is actually near the person they wish to harm would

  constitute a more dangerous situation than a distant and remote person, as they

  would have the immediate and apparent ability to actually carry out the threatened

  harm due to their presence. 2 The State of Florida’s criminalization of threatening



  2 The danger involved in remote communications still must be analyzed on a case-by-
  case basis, for a threat involving, for example, a mailed bomb, or mailed lethal
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  speech makes this exact conclusion, only criminalizing threatening speech if it is

  “coupled with an apparent ability” to carry out the threat. 3 Threatening

  communications are governed in this state by “assault” laws. Florida defines “assault”

  as follows:

                An “assault” is an intentional, unlawful threat by word or act
                to do violence to the person of another, coupled with an
                apparent ability to do so, and doing some act which creates a
                well-founded fear in such other person that such violence is
                imminent.

  Fla. Stat. § 784.011(1) (2021) (emphasis added). The Supreme Court of Florida has

  explained that a “threat” under § 784.011(1) is “an ‘expression’ of an intent or a

  ‘communicated intent’ to do violence to another.” Somers v. United States, 355 So.3d

  887, 892 (2022). A threat’s criminality under § 784.011(1) is, however, grounded in

  an overt act directed toward the victim. See id.; Battles v. State, 288 So.2d 573

  (holding that feeling threatened by an intention or opportunity to commit an assault

  is not enough for conviction). Notably, under Florida law, an “assault,” is defined as

  a “threat.” Fla. Stat. § 784.011(1) (2021).

        Some federal threat statutes use the same common law definition of “assault”

  as Florida, and criminalize a threat only if there is an immediate and apparent ability



  chemical are obviously situations which remove the remote (translate, “unable to
  immediately carry out”) factor from an interstate communication. While the conduct
  can be covered by the same statute, the inherent dangers are different. As the
  government presented during the motions in this case, Capitol Police routinely use
  their discretion and judgement to determine which remote threats to follow up with
  investigation regarding, and even on those they investigate, use their judgement
  regarding which threats actually have dangerous elements involved.
  3 As will be shown in this pleading, Florida’s assault statutes are taken from the
  common law definition of assaults or threats.
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  to carry out the threatened communication. For instance, an “assault” on a member

  of Congress is a misdemeanor, as long as no injury occurs and no dangerous weapon

  was possessed. 18 U.S.C. § 351(e). At initial glance, that statute would appear to

  govern the conduct in this case, as the Defendant was basically accused of assaulting

  a member of Congress. It does not because the Defendant in this case had no

  immediate, apparent ability to carry out his threat. Section 351(e) does not define the

  term “assault.” This was noted by the Tenth Circuit in United States v. Calderon, 655

  F.2d 1037 (10th Cir. 1981) That Court’s ruling determined that “assault” is a common-

  law term and should be given its common-law meaning.

        This Circuit considered the term “assault,” in the context of violations of 18

  U.S.C. § 111(a). Section 111 falls under Chapter 7 of the United States Code, titled,

  “Assault.” Section 111, on its face, deals with crimes involving “forcible assault” upon

  a federal officer during the performance of, or on account of the performance of their

  official duties. United States v. Martinez, 486 F.3d 1239, 1244-45 (11th Cir. 2007). The

  Court in Martinez determined that “[i]n sum, § 111(a) establishes these categories of

  forcible assault, each with its own penalty: (1) ‘simple assault,’ punishable by not

  more than a year of imprisonment; (2) ‘all other cases’ of forcible assault, which are

  punishable by not more than three years' imprisonment; and (3) ‘all other cases’ of

  forcible assault where the defendant uses a deadly or dangerous weapon or inflicts

  bodily injury, which are punishable by not more than ten years' imprisonment.” Id.

  The Martinez ruling noted that Congress failed to provide any definition of the term

  “simple assault” in the statute, “or the difference between a forcible assault that



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  should be considered a ‘simple assault’ and an ‘all other cases’ forcible assault.” Id. at

  1245. The Court in Martinez, instead referred back to another Eleventh Circuit

  opinion to determine “that simple assault at common law ‘is defined as a “willful

  attempt to inflict injury upon the person of another, or … a threat to inflict injury

  upon the person of another which, when coupled with an apparent present ability,

  causes a reasonable apprehension of immediate bodily harm.’” Id. at 1245 (internal

  citation omitted)(Italics in original); See also, United States v. Temple, 447 F.3d 130,

  139 (2nd Cir. 2006). The Court further noted that with respect to “forcible assault[s]”

  in “§ 111(a) ‘have to be something more, such as a willful attempt or threat to inflict

  serious bodily injury, coupled with an apparent present ability, which causes the

  intended victim a reasonable apprehension of immediate serious bodily harm or

  death.’” Martinez, 486 F.3d at 1245 (internal citation omitted).

        Thus, the common law definitions of “simple assault” and “forcible assault”

  mandates “apparent” and “immediate” ability to carry out the threatened conduct.

  This Circuit turns that concept of “assault” into a felony for “forcible assault,” only if

  the there is an “attempt” to carry out the threat, or the “apparent” and “immediate”

  ability to carry out a threat of “serious bodily harm or death.” Martinez, 486 F.3d at

  1245. Obviously, the Defendant could not have been charged with the less serious

  offense, or the equally serious offense in this case because his threat: (1) was not

  based upon the former Congressman’s performance of his official duties; and (2) he

  had no immediate and apparent ability to carry out the threat. Once again, the result

  was that the Defendant is convicted of a more serious offense.



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        It is immediately apparent that the common law definition of “assault,”

  whether “forcible” or “simple,” incorporates the term “threat” as a critical part of its

  definition. Id. at 1245. A “threat” may be an “assault” (if there is an immediate,

  apparent ability to carry out the threat), and an “assault” is a “threat.” If it appears

  that the terms “assault” and “threat” are used interchangeably in most of these cases,

  or seem to share the same definition, it is because they do. Merriam-Webster’s

  dictionary defines the term “assault” for “law” purposes as, “a threat or attempt to

  inflict offensive physical contact or bodily harm on a person (as by lifting a fist in a

  threatening manner) that puts the person in immediate danger of or in apprehension

  … of such harm or contact compare battery sense.” https://www.merriam-

  webster.com/dictionary/assault (last accessed April 26, 2024). The same dictionary

  defines the term, “threat” as, “an expression of intention to inflict evil, injury, or

  damage.” https://www.merriam-webster.com/dictionary/threat (last accessed April

  26, 2024). According to these definitions, an “assault,” includes an “attempt,” while a

  “threat,” is merely an “expression.” See, United States v. Shrader, 2014 WL 4954408

  at *1 (D. Arizona, 2014) (Unpublished).

        The term “threat,” is defined by case law, and not by statute. A “true threat” is

  a communication of “a serious expression of intent to inflict bodily harm upon that

  person.” United States v. Bundy, 2017 WL 449593 at *7 (D. Nevada, 2017)

  (Unpublished). Thus, it appears that a “true threat” is merely an “assault” without

  a requirement of an apparent and immediate ability to carry out the threatened

  conduct, despite the fact that a “true threat” has to be a “serious expression of intent.”



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  See, Martinez, 486 F.3d at 1244 (for common law definition of “assault” which is a

  threat to inflict bodily injury coupled with an apparent ability to do so). 4

        Thus, in multiple federal statutes directed against threats towards members

  of Congress or federal officials, a threat to inflict injury upon the official, along with

  the “apparent present ability” to carry out the threat, results in a misdemeanor

  offense. Yet, actual presence and ability to carry out the threat would appear to be

  the more dangerous and significant conduct when compared with an inability to carry

  out a threat. Much like the offender noted in the U.S. Capitol Police report from 9/2/22

  above, it appears that, had the Defendant directed his threat to Santos outside of his

  office, or in his presence, he possibly could have been arrested and prosecuted under

  18 U.S.C. § 351(e), for a misdemeanor. However, because he had no apparent present

  ability to carry out the threat, or to cause immediate bodily harm, he could not be

  charged with the misdemeanor offense and was charged with a more serious offense

  under 18 U.S.C. § 875(c).

        Under § 111(a), for forcibly assaulting a federal officer while performing their

  duties, the Defendant would have to “use[] a deadly or dangerous weapon or inflict[]

  bodily injury,” to have the same resulting maximum possible penalty as he faces now




  4 This is why 18 U.S.C. § 115 is so difficult to decipher. An “assault” without injury
  or physical contact is a misdemeanor. But a “threat” to “assault, kidnap, or murder”
  is a felony. The statute does not define “assault” or “threat” and includes an offense
  of “threaten[ing] to assault,” which would appear to be a threat to threaten as those
  terms are defined by common law. But a threat without the present, apparent,
  immediate ability or intent to carry it out could still constitute a “true threat” (defined
  as a “serious expression of intent to inflict bodily harm” for purposes of § 875(c) under
  the present jury instruction in this Circuit.
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   under § 875(c) for his speech without any injury, weapon, or apparent ability to carry

   out the threat. Martinez, 486 F.3d at 1244-45. Much like a violation of § 351(e), all

   violations, both the misdemeanor and felony offenses, of § 111(a), require the

   immediate and apparent ability to carry out the threat. Under the prevailing case

   law in this Circuit, the Defendant could not have been charged with the offense

   of simple (or forcible) assault § 111(a) for his actions because: (1) he had no

   immediate ability to carry out the threat; and (2) because, just as the government has

   stated repeatedly in this prosecution, they could not charge him with a violation of

   18 U.S.C. § 115, as the threat was not “on account of the performance of official

   duties.” Thus, once again, because of the nature of the threat, and the lack of any

   ability to carry it out, the Defendant was instead charged with the felony in § 875(c).

         In sum, because the facts reveal that Defendant engaged in less serious, less

   dangerous conduct, far from Congress, far from Santos, and with no intention to carry

   out the threat, nor apparent ability to carry out the threat, and not because of the

   official role or duties of the former Congressman, he has been convicted of a far more

   serious offense, and faces a more significant penalty than he would have faced for

   confronting Santos face-to-face, or threatening him because he was a Congressman

   related to his official duties. This must be taken into account as to the seriousness of

   the offense and nature of the offense under 18 U.S.C. § 3553(a).



         2. Other 875(c) Prosecutions involving members of Congress:




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         There are not many of these types of prosecutions for threatening members of

   Congress to compare this case with. Those found by the Defendant are all factually

   driven by the conduct that occurred in the case (as one would expect).

         In another § 875(c) prosecution, Joshua Hall was sentenced in the Southern

   District of New York to a term of 20-months imprisonment, concurrent with his

   sentence in another federal prosecution that he was on pre-trial release from when

   he made a series of multiple threatening phone calls to a member of Congress’s office.

   [21-cr-00605-GHW (SDNY)]. During those telephone calls, Hall conveyed threats to

   kill the Congressman to at least three different members of the Congressman’s staff,

   and stated that he had a lot of AR-15 rifles. He also stated that if he saw the

   Congressman, he would kill him. Hall also stated that he wanted to “beat the shit out

   of” the Congressman and that he would find the Congressman wherever he was and

   hurt him.

         In 2022, Justin Kuchta, was charged in the District of Maryland, for making

   threats to murder a member of Congress in violation of 18 U.S.C. § 875(c). Kuchta

   made threats through a district office in Texas in July of 2022, using an event

   management website (more or less as an online “pfishing” operation to obtain email

   addresses for the Congressman). Kuchta denied making the threats when he was

   initially interviewed by law enforcement. Kuchta stated that he used the event

   planning website — meant to coordinate an event in Missouri that the

   Congressperson was attending — to send an email threatening the lives of featured

   guests, including that member of Congress. Kuchta in several emails, explicitly stated



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   his intent to murder the Congressperson. Despite the sophistication of his efforts,

   Kuchta was sentenced to 4-months incarceration. 23-CR-00014-RDB (DMD).

         In 2023, Allan Poller was charged in the District of New Hampshire for

   violating 18 U.S.C. § 115(a)(1)(B) and 18 U.S.C. § 875(c) for leaving a voicemail for a

   U.S. Congressperson which stated: “Hi, my name is Allan Poller, A-L-L-A-N P-O-L-

   L-E-R, phone number []8931. And I just want to let you know, Representative [Name],

   if you keep on coming for the gays, we’re gonna strike back and I guarantee you, you

   do not want to fuck with us. We will kill you if that’s what it takes. I will take a bullet

   to your fucking head if you fuck with my rights anymore. And then if you want to

   keep going down that path, you know who’s next.” [23-cr-00039-LM (DNH), DE:1].

   Poller was sentenced, pursuant to the government’s recommendation, to a downward

   variance from his 10-16 month Guidelines range to 3-years of probation. Notably,

   Poller’s conduct was (based upon the language of the threat) entirely based on

   influencing the official duties of the victim, and referenced members of the member

   of Congress’s family (“you know who’s next”), and threatened a murder. There is no

   indication whether Poller had the capability, ability, or intention to carry out the

   threat in the pleadings available from that case.

         Also in the District of New Hampshire, Ryder Winegar was convicted of

   making a series of threats to members of Congress. United States v. Winegar, 21-

   00021-SM (D.NH 2021). He threatened one Congressperson, “Uh, you better support

   Donald Trump as your president. There has been massive fraud in this country. And




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   if you don't support it, we're going to drag you out and we're going to hang you by

   your neck to die. Good luck." Id. He threatened a second Congressperson:

                but also, really, we’re going to hang all you motherfuckers.
                And it really, really, it boils down to two camps. You either
                support our president, support liberty, and fuck this global
                homo, uh, vaccination Jewish agenda, or you're not. In
                which case we’re going to fucking kill you. Do you
                understand? Like you can be afraid of being doxxed and be
                outed as a racist and all this shit, which nobody really
                fucking cares about because there’s no consequences, or
                you can be scared about motherfuckers like me stringing
                your ass up. Yeah. So do the right goddamn thing and get
                behind our president and save this country and our
                Constitution or else you're really going to fucking regret it
                as the last thought that you have in your stupid little RINO
                brain. Get it? So stop being a RINO and fucking line up.
                You got it? Stupid bitch."

   Id. Winegar threatened a third member of Congress,

                I think, you know, I'm not only going to have to register as
                a Republican in the future, but I might have to come and
                hang you personally, like until you die, and all of your
                aides, including you, who are listening to this right now,
                like some 24 year old, uh, from Arizona named Chase or
                some gay name like that. Do the right thing or patriots are
                going to come, and we're going to fucking kill you all. You
                understand.


   Id. He threatened a fourth member of Congress, “You better get behind Donald

   Trump or we're going to hang you, and I'm going to laugh, and I'm going to pee in

   your face, and I'm going to fuck your ass, you stupid fucking Democrat, piece of shit,

   communist [inaudible].” He threatened that member again, “If you're not behind this,

   then we're going to hang you to die. Do the right thing, or you're going to get caught

   being a fucking Communist, like a Chinese Communist Party, or actually, yeah.



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   [foreign language] We're going to hang you to death. You understand that?” Id. He

   threatened yet another member of Congress, “Like we're going to come hang you, you

   specifically. And I know who you are.” Id. Winegar threatened a sixth member of

   Congress, and their aides, “If you don't get behind him, we're going to hang you until

   you die. Uh there's there's no other option. You, there's two roads right now.” Winegar

   was believed to be armed. Id. Winegar was charged with six counts of violating 18

   U.S.C. § 115(a)(1)(B), and one count of violating 18 U.S.C. § 875(c). Id at DE:14. He

   plead guilty to the indictment. Id. at DE:26. He was sentenced to the bottom of his

   Guidelines range, 33-months imprisonment. Id. at DE:39. Much like Poller,

   Winegar’s threats sought to influence the official duties of the Congressperson.

         In 2019, Darryl Albert Varnum was charged in the District of Maryland with

   three counts of violating § 875(c) for repeatedly calling a Congressperson’s Florida

   office, threatening to come down to Miami and kill her if a certain bill was introduced.

   “I’m gonna kill your ass if you do that bill. I swear. I will f---ing come down and kill

   your f---ing ass. And you’re a congressperson, that’s fine. I hope the f---ing FBI, CIA

   and everybody else hears this s---,” Varnum was recorded as saying on the

   Congressperson’s voicemail according to the complaint. “This is the United States of

   America, bitch. Get the f--- out... I’ll tell you what I’ll come down to Miami bitch. I’ll

   f--- you up. Like Cubans don’t even know.” [19-CR-00337-RDB-1 (D.MD)]. Varnum

   was sentenced to 6-months of home detention for his conduct after admitting he was

   drunk when he left some messages. Much like Poller and Winegar, Varnum’s threats

   were based upon influencing the official duties of the Congressperson.



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         In 2021, Robert Lemke was charged in the Southern District of New York with

   violating 18 U.S.C. §875(c) after he sent a series of threats to a New York

   Congressman’s brother during the January 6th attack on the Capitol. One of the

   threats included a photo of a home in the brother’s neighborhood, while another

   stated, “Your brother is putting your entire family at risk with his lies and other

   words. We are armed and nearby your house," Lemke allegedly said in the text to

   Jeffries' brother. "You had better have a word with him. We are not far from his

   either. Already spoke to [Congressman-1’s son] and know where his kids are.”

   According to the United States’ sentencing submission in that case:

               The defendant engaged in a concerted campaign, sustained
               over more than two months, to terrify and intimidate
               dozens of journalists, members of Congress, and their
               families in the wake of the 2020 U.S. presidential election.
               He hunted his victims over the internet, amassing
               information about their private lives. He deliberately took
               steps to mask his identity, acquiring at least two extra
               phone numbers to use in threatening his victims. As he hid
               behind the anonymity of those numbers, he terrified his
               victims by explicitly threatening to harm them while also
               conveying detailed knowledge of their lives, their loved
               ones’ names, their addresses, and even sending
               photographs that were personal to them, such as images of
               the inside of homes belonging to them and their family
               members. The victims feared for their safety, and that of
               their children, their parents, and their partners.

   [21-CR-00100-AKH-1 DE:48       (SDNY)] Lemke       was sentenced to        36-months

   imprisonment.

         In 2023, Robert Vargo was charged with violating 18 U.S.C. § 871, 875 and

   115(a)(1)(B) for mailing threatening communications to a U.S. Congressman, the

   President and a United States District Judge, threatening to kill them and their

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   families. The threats were directed at the Congressman’s role on the January 6th

   committee. Vargo pled guilty to the § 875(c) count and was sentenced by the Judge to

   a term of 37-months imprisonment. [22-cr-00366-JRS, DE:32, MDPA]. The judge

   “noted Vargo’s lengthy criminal history and the disturbing nature of the threats in

   imposing the 37-month sentence. Upon release from prison, Vargo must serve three

   years on federal supervised release. Vargo’s federal sentence will begin after he

   finishes serving a three to six year term in state prison for a 2022 escape conviction.”

   https://www.justice.gov/usao-mdpa/pr/columbia-county-man-sentenced-threatening-

   president-congressman-bennie-thompson-and [Last accessed April 29, 2024]. This

   threat was directly related to the Congressperson’s official acts in Congress.

         In 2010, Norman LeBoon, pleaded guilty to threatening a Congressman and

   transmitting in interstate commerce a threatening communication in violation of 18

   U.S.C. § 875(c) and 115(a)(1)(B). [10-CR-00696-JP, EDPA]. LeBoon produced and

   transmitted a YouTube video over the Internet, containing a threat to kill

   Congressman Eric Cantor. In the video, LeBoon stated:

                My Congressman Eric Cantor, and you and your cupcake
                evil wife... Remember Eric...our judgment time, the final
                Yom Kippur has been given. You are a liar, you’re a Lucifer,
                you’re a pig, a greedy f------ pig, you’re an abomination, you
                receive my bullets in your office, remember they will be
                placed in your heads. You and your children are Lucifer’s
                abominations.

   Following his arrest, LeBoon told federal agents that he meant his threats because

   Cantor was “pure evil”; “will be dead”; and that “Cantor’s family is suffering because

   of   his   father’s    wrath.”    https://archives.fbi.gov/archives/philadelphia/press-

   releases/2011/ph040711.htm (last accessed July 5, 2023). LeBoon’s interest in cantor
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   stemmed from a recent vote regarding what was widely referred to at the time as

   “Obama-care,” (hence, the § 115 charge and conviction) and the video was issued one

   day after a bullet was shot through the window of Cantor’s office (though he was not

   a suspect in the shooting). The government’s sentencing memorandum in that case

   made it clear that LeBoon suffered from a long and violent mental health history

   where he assumed the identity of “Seth,” and was very dangerous during those times,

   as he considered himself the Angel “Gabriel.” [10-CR-00696-JP, EDPA DE:22]

   LeBoon was sentenced to 24-months imprisonment.

         In 2018, Carlos Bayon was convicted by a jury of two counts of interstate

   communication of a threat and two counts of assault on a Congressperson in violation

   of 18 U.S.C. § 875(c) and 115(a)(1)(B) after leaving voicemails for a Congressperson

   which stated: “hey listen, this message is for you and the people that sent you there.

   You are taking ours, we are taking yours. Anytime, anywhere. We know where they

   are. We are not going to feed them sandwiches, we are going to feed them lead. Make

   no mistake you will pay. Ojo por ojo, diente por diente (Spanish for "an eye for an eye,

   a tooth for a tooth). That is our law and we are the majority. Have a good day." On

   the same day, the Washington State office of another United States Congressman

   received a threatening voicemail with the exact same message. Both calls were traced

   to Bayon. https://www.justice.gov/usao-wdny/pr/grand-island-man-arrested-leaving-

   threatening-voicemails-two-us-congressmen (last accessed July 5, 2023). [18-CR-

   00163-FPG-JJM (WDNY)]. Bayon refused the appointment of counsel and

   represented himself throughout the case. Bayon moved to strike the Pre-Sentence



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   Report prior to sentencing because he was “not guilty.” Id. at DE:149. Bayon’s threats

   were based upon the Congressional action related to immigration detention.

         The government’s sentencing memorandum against Bayon noted that he never

   once expressed remorse. Bayon’s messages were identical, and the government

   indicated that he had written them out before-hand to read them during his calls.

   He was sentenced to 60-months imprisonment. At Bayon’s home, agents found books

   regarding bomb-making and “hit-men.” [18-CR-00163-FPG-JJM (WDNY) DE:157].

   Also found at Bayon’s home were 150 rounds of 7.62mm ammunition for an SKS

   assault rifle, 50 rounds of shotgun ammunition, a receipt for the purchase of an SKS

   assault rifle, a receipt for the purchase of a .38 caliber revolver. No firearms were

   located. [18-CR-00163-FPG-JJM (WDNY) DE:111]. The books that were found

   included: “How to create foolproof new identity; Ragnar’s homemade detonators;

   Homemade C-4; New & Improved C-4; Middle Eastern Terrorist Bomb Designs; Poor

   man’s TNT; CIA field manual for explosives prep; Disguise techniques; How to

   circumvent security alarms; Silent But Deadly: homemade silencers; Hit Man:

   technical manual; Expedient B&E: circumventing alarms; Improvised radio

   detonation techniques; Homemade Semtex; Secrets of a Super Hacker; How to make

   disposable silencers; and, How to build practical firearm suppressors.” Id. An

   interview with Bayon’s girlfriend revealed that he had gotten her to purchase the

   SKS rifle and ammunition for him, and that he admired Timothy McVeigh,

   “sympathized with David Koresh,” and travelled to Colorado to have his picture taken

   by the school where the Columbine shooting had taken place. Id. Finally, after



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   searching a storage unit the Defendant rented, agents found the SKS rifle and bomb-

   making    materials.   Bayon   was   sentenced    above   Guidelines   to   60-months

   imprisonment. 5

         In 2018, the United States Attorney’s Office in this District prosecuted

   Laurence Key for violating 18 U.S.C. § 875(c). United States v. Laurence Key, 18-

   14053-CR-JEM. Key was arrested after calling and speaking to an intern in

   Congressman Brian Mast’s office, and telling them: “I'm going to find the

   congressman's kids and kill them. If you are going to separate kids at the border, I'm

   going to kill his kids. Don't try to find me because you won't.'' [18-14053-CR-JEM

   [DE:1]]. Records revealed Key had also called the offices of Senator’s Rubio and

   Nelson. Id. Records also revealed Key had called Mast’s office 478 times. Key was

   indicted for one count of violating 18 U.S.C. § 875(c). Id. at DE:19. Evidence revealed

   that Key had previously threatened to poison Mast in a Facebook comment; Key had

   personally approached and spoke to Mast at a rally and had asked him if his children




   5 Incredibly, in a pre-trial memorandum in Bayon’s case, the government indicated
   to the District Court that: “The defendant’s ability to carry out the threat is
   relevant to determining whether he intended his words to constitute a
   threat. See Parr, 545 F.3d at 502 (holding that evidence of defendant’s knowledge of
   explosives is relevant to assessing his threat to blow up buildings).” [18-CR-00163-
   FPG-JJM (WDNY) DE:111] citing, United States v. Parr, 545 F.3d 491, 498-501 (7th
   Cir. 2008) (emphasis added). In this case, the government instead argued that the
   Defendant’s inability to carry out the threat was irrelevant to intent. In Docket Entry
   111 in Bayon, the government cited extensively to Parr for the conclusion they could
   admit prejudicial background information during trial about the Defendant’s views
   because it would prove his intent to communicate a “true threat.” In this case, it was
   the Defendant arguing that Parr meant that the Defendant could argue and offer
   proof of a lack of preparation and ability to dispute his intent to communicate a “true
   threat” and it was the government arguing that Parr did not apply.
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   were with him; and Key had sent an email with a veiled threat of death to Mast that

   the government argued did not rise to the level of a charge, but was nonetheless

   evidence of guilt. Id. at DE:31. The case was dismissed by the U.S. Attorney’s Office

   after a jury was unable to reach a verdict. Id. at DE:69. The case was not re-tried.

   Key’s threats were related to Congressional action regarding immigration detention.

         In 2018, Christopher McGowan was charged with one count of violating 18

   U.S.C. § 875(c) “based on many ‘concerning’ and ‘threatening’ tweets McGowan sent

   in which he tagged or otherwise directed comments at a United States congressman.”

   United States v. McGowan, 2022 WL 2654228 at *1 (W.D. VA 2022) (unpublished).

   He plead guilty to that charge and was sentenced to a term of time-served and

   supervised release. Id.

         In 19-CR-80221-DMM, Michael Shapiro was charged in a four count

   indictment with three violations of 18 U.S.C. § 875(c), and one count of retaliating

   against a federal officer in violation of 18 U.S.C. § 115(a)(1)(B). The defendant therein

   was alleged to have made approximately 12 threatening calls to members of

   Congress. Shapiro pled guilty to one count of violating § 875(c) and was sentenced

   pursuant to a joint recommendation by the parties to a downward variance of 3-years

   of probation. In December of 2023, Mr. Shapiro was re-arrested, for allegedly making

   five calls to threaten a member of Congress. He was indicted for one count of violating

   § 875(c) in case number 24-CR-80007-DMM. That case remains pending.




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         3. Threats against members of Congress prosecuted only under 18
            U.S.C. § 115:

         Prosecutions under 18 U.S.C. § 115(a)(1)(B) mandate that the threat be based

   upon official actions by the victim. The following cases involve threats against

   members of Congress filed under that statute.

         In 2017, E. Stanley Huff was charged in the Southern District of Ohio with

   violating 18 U.S.C. § 115(a)(1)(B) for leaving a series of voicemails threatening the

   life and family of Rep. Steve Stivers (Ohio). Huff had been leaving voicemails for the

   Congressman from February, through June, 2017. [17-CR-00144-MHW, DE:1]. The

   final voicemail was over 2-minutes long, and stated:

                Yeah sissy boy Stivers. Hey let me tell you something. I've
                seen the ah prayer ya'll were saying at the baseball
                diamond last night. I think ya'll better hit your knees and
                pray for the people that you re screwin' up their lives with
                your secret legislation that you're tryin' to run through
                everything. And by the way, we the people are on the march
                now to take back our country and our government. So says
                the constitution because it does say we the people.
                Something you repugnant fuckers don't understand. Now
                I've tried to warn you but you keep calling that little pissy
                sissy pig friend of yours. And he keeps disturbing me. Now
                he's gonna get ah, ah, ah civil charge filed on him if he
                continues. And so are you. We are coming to get every god
                damn one of you and your families. We are taking our
                country back. We are on the march. The other day is the
                tip of the iceberg. I've tried to warn you. You don't want to
                listen to me. You don't want to sit down and talk about it.
                So S.O.L. is going to move. One of the greatest Americans
                ever said that it is obvious that these meetings are doing
                no good that now is the time for action. You hear me
                clearly, queer. Ok? Maybe the next one taken down will be
                your daughter. Huh? Or your wife. Or even you. Think
                about it dumbass. We own this country. You are nothing
                more than a public servant. And that's what you gonna be.
                Ok? You are going to serve all of the public. Not just the

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                repugnant public. All of the public. Fuck you in your left
                ear. Fuck you in the right ear. And everywhere else I can
                put it. You understand that, dumbass? Don't let your piggy
                friend call me. Or you’ll hear from me more often.


   [17-CR-00144-MHW, SDOH, DE:1]. The “baseball” reference was to the shooting on

   a baseball field of several members of Congress by a sniper around that time period.

         This was the last of five threatening and harassing voicemails Huff left for the

   Congressman, all lengthy in duration. Federal agents visited Huff to advise him to

   stop leaving messages for the Congressman, but he continued unabated, and even

   commented in the next message about the visit his prior calls had generated from law

   enforcement. In that next message, he stated, “’go Fuck yourself.’ Hoff then said, ‘And

   apparently you don’t have any problem with the fact if we’re out one day and see your

   daughter out walking around or your wife we can go grab them in the crotch’. Hoff

   also warned, ‘Steal one more election, there will not be one word spoken about it.

   There will be no less than one million shots fired.’” [17-CR-00144-MHW, SDOH,

   DE:47]. 6 In a prior message, Huff stated: “that ‘If you shoot down one of our troops

   and you will have the bloodiest massacre God’s Earth has ever seen’, ‘We’re going to




   6 Notably, the government’s sentencing memorandum in the Huff case uses the
   definition of the term “threat” from Merriam-Webster’s dictionary referred to in part
   1 of this pleading: “A threat has been defined as an ‘expression of intention to inflict
   evil, injury or damage’ and ‘a communicated intent to inflict physical or other harm
   on any person or on property’”. (Merriam-Webster and Blacks Law Dictionary).” [17-
   CR-00144-MHW, SDOH, DE:47]. In addition, the government went on in that
   pleading to define “true threat” as: “A statement rises to the level of a “true threat”
   when it is a ‘serious expression of an intention to inflict bodily harm’ and is ‘conveyed
   for the purpose of furthering some goal through the use of intimidation.’” Id. (internal
   citation omitted).
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   take care of it you see and we’re going to take care of it our way’ and ‘Leave

   Obamacare alone or die.’” Id. In another voicemail, “Hoff warned ‘If you go down with

   a yes and that bill passes, I guarantee you my death will not be in vain. You want a

   more dangerous, hateful country to live in? We’re going to give it to you.’” Id. Huff

   also had prior convictions for stalking, violation of a domestic protection order, and

   domestic violence. Huff had 23-prior arrests, a multitude of which involved violations

   of stay-away orders, which the government argued matched the behavior in Huff’s

   case, when he was warned to stop calling but only disregarded the warning and got

   worse. Id. Huff was sentenced to 40-months imprisonment.

         In 2022, Chase Neill was charged in the District of Kansas with violating 18

   U.S.C. § 115(a)(1)(B) for repeatedly threatening a U.S. congressman that he would

   kill him. The defendant represented himself and was convicted at trial. [22-cr-40037-

   HLT (DKS) DE:1]. “Neill admitted in court that he left the June 5 voicemail and

   others with more death threats the next day.” https://apnews.com/article/politics-

   albuquerque-kansas-topeka-prisons-bf01d9142e08750036a8eb1148de7b08               (last

   accessed June 29, 2023). The defendant was a very intelligent and high achieving

   young man, who had been trained both as an EMT and as a future naval aviator, but

   had mental health problems (which he denied). He had previously been arrested for

   trespass in disregard of a protective order by a member of his family. In 2019, he was

   convicted of threatening to kill his mother and girlfriend and of domestic battery. In

   2018, he was arrested for possession of multiple firearms. He had fled the country for

   Israel at one time to avoid a warrant for his arrest. Throughout case proceedings the



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   defendant declared himself immune from prosecution, and declared that all local and

   federal law enforcement and the intelligence community were conspiring against

   him. He showed no remorse for his actions, and declared that they were legitimate.

   [22-cr-40037-HLT (DKS) DE:155]. He was sentenced to 46-months imprisonment.

         In 2022, David Hannon was prosecuted in the Middle District of Florida for

   violating 18 U.S.C. § 115(a)(1)(B). Hannon pled guilty to sending an email to a

   member of Congress “threatening to kill her.” https://www.justice.gov/usao-

   mdfl/pr/florida-man-pleads-guilty-federal-charges-hate-motivated-threats-against-

   us-member (last accessed June 29, 2023). The e-mail read:

               We Are Ready To Carryout Mass Assassinations Against
               Alquida Radicals That Have Somehow Got Into Our
               American Political Parties! Your Already On The HIT LIST
               BY OUR AMERICAN PATRIOT ARMY AND THE
               MOUSAD! YOU BETTER GET MORE SECURITY, OR
               WITHIN A WEEK YOU AND THE OTHER THREE
               RADICAL RATS WILL BE SIX FEET UNDER! THIS IS
               NOT A THREAT BUT FACT! ARE YOU READY TO DIE
               FOR ISLAM? ARE YOU READY TO DIE FOR ALLAH?
               ARE YOU READY TO GET OUT OF OUR COUNTRY!
               YOU WONT HEAR THE BULLET GOING THROUGH
               YOUR OR THEIR HEADS! ALL FOUR OF YOU
               CONGRESS WOMEN WILL DIE AND THE AMERICAN
               PEOPLE WILL CHEER! PATRIOTS AGAINST ISLAM!
               GOD BLESS AMERICA!”


   [22-cr-00134-KKM-CPT-1 (MDFL) DE:33]. The e-mail immediately followed a press

   conference by the Congress woman and another Congress woman of Islamic faith to

   respond to criticism leveled against them by then-President Trump. The Sentencing

   Guidelines recommended a sentence of 10-16 months imprisonment. Id. The

   government recommended that the Court sentence Hannon to a term of 10-months

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   imprisonment. Id. The government did admit in that pleading that because the threat

   was a single threat, not a multiple series of threats, this was a mitigating factor. Id.

   The Court refused to follow the government’s suggestion that a prison sentence was

   required under 18 U.S.C. § 3553(a) and sentenced Hannon to a term of 36-months-

   probation. [22-cr-00134-KKM-CPT-1 (MDFL) DE:37].



         4. Un-prosecuted (Federally) “threats” against elected officials:

         On December 23, 2016, Kevin Krohn was arrested in the Southern District of

   Florida for threatening President Elect Donald Trump. He was accused of violating

   18 U.S.C. § 871(a) and 18 U.S.C. § 879(a)(2) for threatening the life of, or inflicting

   great bodily harm upon the President-elect. United States v. Krohn, 16-06531-MJ-

   BSS [DE:1].

         It was alleged by the government that the prior day (December 22, 2016),

   Krohn had posted on his account on Facebook “in a thread of comments related

   to [President] Trump's ongoing visit to Palm Beach, Florida” a “threat” which “read:

   ''I'm just glad Obama didn't take [all] our gunz! I see a good use for one now'' above

   an image of [President] Trump which read,' 'He's not my president/He's an enemy of

   the state.'' An additional comment made by Facebook user KROHN stated, ''The

   EXPEDITER of Trump! He will never last long!'' above an image of a camouflaged

   man holding a scoped sniper rifle. Another Facebook user replied, ''WTF does that

   mean?' 'to which Facebook user KROHN replied, ''Keep yer eyes open!' United States

   v. Krohn, 16-06531-MJ-BSS [DE:1].



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         Krohn was visited by U.S. Secret Service Agents at his home in Broward

   County at which time he “declared any statements he made were an expression of his

   First Amendment Rights.” Id. Krohn was asked by law enforcement if he had made

   threatening comments towards President Trump “at which time he became further

   confrontational, began pacing in the yard, and in a loud voice said, ''Well then arrest

   me.'' After multiple failed attempts to calm KROHN, KROHN was restrained and

   placed in the back of a PPPD vehicle.” A post-arrest frisk of Krohn by law enforcement

   “revealed he possessed a retractable knife in his pocket.” Id.

         After rejecting multiple pre-indictment plea offers from the government

   (including an option of possible pre-trial diversion), the U.S. Attorney’s Office for

   the Southern District of Florida dismissed the case against Krohn. United States v.

   Krohn, 16-06531-MJ-BSS [DE:9].

         In May, 2023, Congressman Eric Swalwell was reportedly threatened by Bruce

   Miller via private message, which read: “’Almost time!!! Would you rather

   Guantanamo or just execution f—kin traitor,’” along with three cry-laughing emoji.”

   Miller engaged in further dialogue with Congressman Swalwell, following up that

   communication with, “that punishment is in the cards for you and many others!"

   https://www.sfgate.com/49ers/article/49ers-bruce-miller-swalwell-threat-

   18106503.php (last accessed June 29, 2023). Miller has not been arrested or charged

   for these threats.




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           In January, 2023, Congressman Eric Swalwell received a private message from

   a man in Indiana named Jonathan Reeser. Part of the message reported by the media

   read:

             I HOPE YOU FAMILY IS RAPED AND MURDERED AND I
             HOPE YOU GET TIED TO THE BACK OF A TRUCK AND DRUG
             10,000 MILES UNTIL YOU BODY IS RIPPED TO PIECES YOU
             SCUM. I WISH I SAW YOU IN PERSON ID BREAK YOUR
             (explicit) FACE SO FAST YOUD HAVE PLASTIC SURGERY
             AND NEVER LOOK THE SAME AGAIN.

   https://www.indystar.com/story/news/politics/2023/01/14/indiana-man-threatens-u-

   s-rep-eric-swalwell-loses-job/69809292007/. (last accessed June 28, 2023)(all caps in

   original). Reeser was never arrested or charged for the message that was sent, though

   he was fired by his employer.

           In 2023, Aaron Thompson was arrested and charged in state court in Indiana

   for misdemeanor assault for multiple threatening calls to a Congressman, for calling

   the:

                 office and [leaving] threatening messages on a number of
                 occasions. Thompson made one of these calls on April 6 and
                 seven on April 11 ….”Mole-ay, MOle-ay, Mole-ay, Mole-
                 ay…Hope you die,” Thompson said in one voicemail, “yay
                 Mole-ay three daughters. Hey hey hey three bullets hey
                 hey hey one wife yay. Oh yeah, yeah, we’ll give her two
                 bullets. Mole-ay how’s your moles on face you little f—
                 khead? I hope you f—king get your brains blown out,”
                 ….”Here’s the choice. Your daughters grow up without
                 their dad. Or you grow old without your daughters,”
                 ….emphasizing to [the Congressman] that he owned a gun.
                 “How you like that? Let me know what your opinion is. I’ll
                 make the decision. Love you f—king f–got.”




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   https://www.dailysignal.com/2023/06/06/boom-boom-you-pick-authorities-arrest-

   man-who-threatened-gop-congressman-young-daughters/ (last accessed June 29,

   2023).

            In 2023, Michael Kennedy was charged in state court in Colorado with

   threatening a U.S. Congressman, for

                 repeatedly leaving voicemail messages for the Democratic
                 congressman in which he threatened to shoot Neguse over
                 his advocacy for stricter gun laws. The messages were
                 peppered with racist language and insinuations against
                 Neguse, who is Black. The arrest warrant lists 17 separate
                 voicemails left between mid-May and late June last year,
                 many of them referencing past mass shootings, including
                 those at the Table Mesa King Soopers, which was in
                 Neguse’s district, and the Buffalo Tops grocery, in which
                 the shooter specifically targeted Black people….”Check
                 this out, Joe Neguse,” Kennedy allegedly said in one
                 message. “What are you going to do about me? I got me a
                 AK-47 pointed directly at you. What are you gonna
                 (expletive) do about that?”

   https://www.cpr.org/2023/04/12/denver-man-arrested-threatening-joe-neguse/       (last

   accessed June 29, 2023). He was never charged by federal prosecutors.

            In 2021, Kenneth Gasper was charged in state court in New York for a

   telephoned death threat against a Congressperson over a vote that Gasper "did not

   agree with." Gasper called a district office, cursed at the staff member who answered,

   and called the Congressman a RINO, an insult that stands for "Republican in name

   only," according to the criminal complaint. Gasper warned that if he saw the

   Congressman on the street he would kill him. Gasper, was charged with aggravated

   second-degree harassment. https://www.fox5ny.com/news/long-island-man-arrested-

   for-threatening-congressman-garbarino (last accessed July 5, 2023).

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           In December, 2023, television actor John Schneider posted a statement on

   Twitter (now “X”) threatening President Joe Biden, and his son, Hunter Biden. A

   news source reporting on this threat indicated that the United States Secret Service

   is investigating the actor for the post. Schneider wrote and posted on his electronic

   media account: “Mr President, I believe you are guilty of treason and should be

   publicly hung,”... Your son too. Your response is..? Sincerely, John Schneider.”

   https://www.theguardian.com/us-news/2023/dec/21/dukes-hazzard-actor-john-

   schneider-biden-execution (Last accessed January 22, 2024). Schneider has not been

   arrested or charged for transmitting an interstate threat or threatening the president

   under 18 U.S.C. § 871 or 875(c) at this time.

           Ali Alexander, a key organizer of the January 6th rally, “has continued to

   publish violent rhetoric since the riots. …. in a new Internet video, he vowed: ‘We are

   going to punish the traitors,’ referring to Republican politicians who endorsed Biden’s

   electoral victory. ‘The Lord says vengeance is his, and I pray I am the tool to stab

   these      motherf---ers.’”    https://www.reuters.com/article/us-usa-trump-protest-

   organizers-insight/how-trumps-pied-pipers-rallied-a-faithful-mob-to-the-capitol-

   idUSKBN29G2UP (last accessed June 29, 2023). Alexander has not been charged

   with a crime.



           5. Threat cases against other elected officials:

           In 2017, Kamran Ebrahim was charged for making threats against the

   President, and a retaliatory threat against a law enforcement official in violation of



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   18 U.S.C. § 871 and 18 U.S.C. § 115, in the Southern District of Florida. Ebrahim was

   charged after investigation revealed that he had made threats against President

   Trump, the White House, and a Secret Service Agent while being hospitalized at a

   facility in Palm Beach County for mental health. This included a statement that he

   hated the Secret Service Agent and would rip his throat out when he saw him. He

   also stated: ''I will nuke the White House.'' Additionally, while being Baker Acted for

   suicidal ideation and drug use, he threatened police and stated he would assassinate

   the President. During a subsequent interview with Secret Service Agents, he was

   apologetic and cooperative. United States v. Ebrahimi, 17-MJ-08192-WM [DE:1];

   United States v. Ebrahimi, 19-CR-80057-RLR [DE:50] Ebrahimi was granted pre-

   trial diversion by the U.S. Attorney’s Office for the Southern District of Florida in

   that case. Id at DE:35 & 38.

         After violating pre-trial diversion, Ebrahimi was charged by a one-count

   information with only resisting or obstructing, or intimidating by force a Secret

   Service Agent, in violation of 18 U.S.C. § 111(a)(1), which is a misdemeanor with a

   one-year maximum possible sentence. United States v. Ebrahimi, 19-CR-80057-RLR

   [DE:40]. While on bond in that case, Ebrahimi tested positive for the use of cocaine.

   Id. at DE:44. Nonetheless, he was sentenced to a term of six-months-probation. Id. at

   DE:52. After four violations of probation, he violated and was sentenced to a term of

   4-months incarceration. Id. at DE:70 & 74. Ebrahimi was competent despite his

   mental health condition.




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          In 2021, Niviane Phelps was charged in the Southern District of Florida with

   violating 18 U.S.C. § 871, for threatening Vice president Harris. In United States v.

   Phelps, 21-20240-CR-JEM, she was charged with six counts of threatening the vice

   president. Id. at DE:15. She sent a series of videos to her husband, who was

   incarcerated by the state of Florida. The videos:

                Generally depict [Phelps] complaining and speaking
                angrily to the camera about her hatred for President Joe
                Biden and Vice President Kamala Harris, among others….
                in a video dated February 2021 … [she] stated: Kamala
                Harris you are going to die. Your days are numbered
                already. Someone paid me $53,000 just to fuck you up and
                I'm gonna take the, I'm gonna do the job, okay.'' ln a video
                dated February 2021 … [she] stated “I’m going to the gun
                range, just for your ass, until you fuckin’ leave the chair.”
                And in a video dated February 18, 2021 … [she] stated: And
                fuckin 'Kamala Harris, I swear to God, today is your day
                you're gonna die.50 days from today, mark this day down,
                stupid bitch, Kamala fuckin' Harris vice president. You
                gonna fuckin' die 50 days from today, I swear to fuckin'
                God! Your day is...(cut off)''

   21-20240-CR-JEM at DE:3. The Secret Service also discovered photos of Phelps

   actually at a gun range with a firearm and a target that had been shot multiple times,

   and learned that Phelps had actually applied for a Florida concealed carry permit for

   a firearm. Id. They also discovered photos of Phelps’ son with a firearm at a gun

   range. Id. During an initial attempt to interview Phelps, she refused to speak with

   the agents. During a second meeting, she spoke to the agents and admitted that she

   was not sure what would have occurred had the agents not intervened and

   interviewed her. Id. During that meeting Phelps was asked if she had plans to travel

   to Washington, D.C. She answered she did not, but her daughter blurted out that



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   they did. Phelps plead guilty in that case, and was sentenced to 12-months

   incarceration. Id. at DE:55.



         6. Cases involving violence or trespass in Congress for the purposes
            of influencing or otherwise impacting Congressional action:

         On January 6, 2021, a large crowd left a political rally in support of former

   President Trump, marched to the United States Capitol while Congress was in

   session preparing to certify the results of an election the former president disputed,

   and attacked Congress to stop that certification. The term “attack” is not hyperbole

   in this pleading, as it is the term used by the government in virtually all of the

   pleadings in what have become known as “January 6th” cases to describe the actions

   of the crowd that took place that day. See e.g. https://www.justice.gov/usao-dc/case-

   multi-defendant/file/1469276/download (last accessed June 29, 2023).

         As of June 29, 2023, 1,049 people have been charged federally with offenses

   related   to   this   entry    and   disruption   of   Congress’   official   business.

   https://www.npr.org/2021/02/09/965472049/the-capitol-siege-the-arrested-and-their-

   stories (last accessed June 29, 2023). 553 of these persons have been sentenced by

   federal courts. Id. The median sentence for those who have received prison time has

   been 90-days. As noted in section 1 of this pleading, offense conduct of a seemingly

   more dangerous nature (actual ability to immediately carry out a threat) is treated

   by statute, as less serious than the offense conduct in this case that revealed no

   apparent, immediate ability to carry out a threat. The January 6th cases reveal a

   similar dichotomy. The persons who entered the capitol on that date did so with a

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   specific political purpose, to wit: to either harm members of Congress, or intimidate

   them out of doing their Congressional duty. There was no other reason to

   unlawfully enter the Capitol that day. The immediacy of the danger they posed

   has been well revealed by the cases that have resulted, and the investigation by the

   January 6th Committee. The manner of entry has been well documented, including

   overwhelming police lines, removal of barricades, and destruction of doors and

   windows to gain access via secured entrances via an angry mob of people. The

   government alleged in the Kaye case they have repeatedly referenced, some

   connection between Kaye and January 6th (the nature of the connection is unclear

   from the complaint, but it appears to be something that was raised during trial).

         Yet, once again, despite being an immediate danger to members of Congress,

   the sentences imposed (as an average) are far lower than the recommendation in this

   case. The Defendant previously provided these examples along with the median

   sentence:

         1) United States v. Paul Edward Kovacik: 1:22-mj-100 Paul Kovacik breached
            the U.S. Capitol on Jan. 6, 2021, through the Senate wing doors and filmed
            several YouTube videos over the course of the roughly 25 minutes that he
            remained in the building. Prosecutors say they further confirmed Kovacik's
            presence in the building through surveillance camera footage and police
            body-worn camera footage…..Kovacik pleaded Guilty to one charge:
            Parading, Demonstrating, or Picketing in a Capitol Building. The other
            charges are dismissed. Sentenced to 90 Days of incarceration; 3 Years of
            Probation; Special Assessment of $10; Restitution of $500. Kovacik has
            prior criminal contacts and had recent criminal contact with the Mequon
            (Wisconsin) Police Department.
         2) United States v. Brian McGhee: 1:23-mj-33 Brian McGee entered the
            Capitol. Court documents state that during a conversation with the FBI
            over the phone, McGee said that he saw police officers waving rioters inside
            and fist-bumping them. An FBI review of surveillance footage does not back



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           this up. McGee pleaded Guilty to one charge: Parading, Demonstrating, or
           Picketing in a Capitol Building. Sentencing set for 10/13/2023.
        3) United States v. Melody Steele-Smith, 21-cr-00077 Her conduct included
           posting on Facebook- “I’m trying to figure out how I could be there all day
           and miss all this violence and destruction I’m seeing on TV,”… “I think
           photos for the news were staged.” One of the photos Steele-Smith took
           appeared to show her inside House Speaker Nancy Pelosi’s office. Under
           the caption, “Nancy’s Office,” there is a collage of images -- a framed photo
           of Pelosi hanging on a wall, a coin rack on top of a cabinet and in one, in a
           partial reflection, what looked to be a white fuzzy headband and light hair
           that investigators said was consistent with selfies that Steele-Smith took of
           herself on Jan. 6. … According to a court document, Steele-Smith served in
           the Navy and was honorably discharged in 1999. She plead guilty to Count
           Two of the Indictment, charging Entering and Remaining in a Restricted
           Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1), which carries a
           maximum sentence of one (1) year of imprisonment. She was sentenced to
           36 months Probation with 90 days home detention; $500 Restitution; and
           $25 Special Assessment.
        4) United States v. William Vogel, 1:21-cr-56 An FBI tipster claimed William
           Vogel was “very vocal” about being at the rally in Washington, D.C.. Court
           documents indicate Vogel was identified as a rioter after law enforcement
           received videos he shot and narrated while he was inside the Capitol
           building. …In Snapchat videos, Vogel can be seen walking around the
           Capitol building while law enforcement is seen retreating from the rioters.
           …Vogel’s Facebook account, … was used to send photos that showed him
           participating in the riot. He also shared a video taken from the top of the
           west front steps of the Capitol building. Vogel pleaded Guilty to one charge:
           Parading, Demonstrating, or Picketing in a Capitol Building. The other
           charges were dismissed. Sentenced to 30 days of incarceration; 36 Months
           of Probation; a Special Assessment of $10.
        5) United States v. Timothy Wayne Williams, 21-mj-454 Williams was present
           in the Capitol Crypt and was observed to take a selfie …, and at
           approximately 14:18:47 a fire extinguisher is thrown by an unknown
           individual standing near Williams. He was seen joining in chants with the
           crowd towards law enforcement officers. Williams pleaded Guilty to two
           charges: Entering and Remaining in a Restricted Building or Grounds and
           Theft of Government Property. The other charges were dismissed.
           Sentenced to 6 Months of Incarceration;12 months of supervised release
           with 6 months of home confinement; Special Assessment $50; Restitution
           of $500.
        6) United States v. Rasha N. Abual-Ragheb, 1:21-cr-43 Abual-Ragheb
           admitted to entering the U.S. Capital on January 6th. A Facebook page for
           Abual-Ragheb in November 2020 showed her participating in Facebook and
           Telegram group chats with members of the New Jersey chapter of the

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           American Patriot 3%, a far-right anti-government militia movement. In one
           of those chats, a user whom the FBI believes was Abual-Ragheb said that a
           civil war was coming and that people needed to show support and rise up
           and fight for the Constitution. During an FBI interview, Abual-Ragheb
           allegedly told agents she was born in Lebanon and fled to Jordan when she
           was a child to escape the civil war there. She told agents she had been in
           the U.S. for 21 years and was a Trump supporter, attended his rallies and
           was blocked from Facebook and Twitter for some of her pro-Trump postings.
           Abual-Ragheb pleaded Guilty to one charge: Parading, Demonstrating, or
           Picketing in a Capitol Building. Sentenced to 36 months probation, the first
           2 months as Home Detention; 60 hours community service; $10 assessment;
           $500 restitution.
        7) United States v. Chase Kevin Allen, 1:22-cr-361 Allen pleaded Guilty to the
           charge of committing an act of physical violence on capital grounds. A
           tipster provided a photo from a Facebook page called "The Allen Report"
           where Allen can be seen wearing a white Boston Red Sox beanie and a
           camouflage backpack. Law enforcement recognized that outfit from
           YouTube videos of a previously unidentified young man stomping on and
           smashing media equipment outside the Capitol. In one of those videos,
           Allen can allegedly be heard yelling multiple times: "Get the f*** out of
           here" after a journalist repeatedly said, “We are leaving.” In a May
           interview with law enforcement, Allen said he runs a YouTube channel
           called "The Allen Report" and "considers himself to be a documentary
           filmmaker" who travels across the country to film events. Allen said that
           he did not enter the Capitol and that he did not destroy any media
           equipment. He also said that he "sometimes does things while filming
           among groups like those at the U.S. Capitol to fit in and cause those around
           him to believe that he is one of them." He told police the worst thing he did
           was "use foul language." Sentenced to 3 years of probation; 14 days of
           intermittent confinement; 50 hours of community service; $500 restitution;
           $10 special assessment.
        8) United States v. Michael Jerrett Amos, DC Court, Michael Amos was
           arrested for breach of the U.S. Capitol on Jan. 6, 2021. D.C. Superior Court
           documents show Amos was charged with unlawful entry. Amos pleaded not
           guilty. Amos successfully completed a diversion program and his case was
           dismissed on January 25, 2022.
        9) United States v. Neil Ashcraft, 1:22-cr-295 Neil Ashcraft pleaded guilty to
           stealing an American flag and flagpole from the U.S. Capitol on Jan. 6,
           2021, and taking them to his home in Florida. A fellow rioter later burned
           the flag at Ashcraft's mother's house and tossed the pole into a pond in an
           attempt to conceal the evidence. Ashcraft admitted he scaled scaffolding
           outside and “exhorted other rioters to storm the Capitol” before the crowd
           broke windows to access the building, according to the filing. He was among
           the first rioters to enter the Senate wing, carrying a white metal pole inside

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            and striking the floor repeatedly, according to the filing. Ashcraft also posed
            for a photo with a statue of former President Ronald Reagan inside the
            Rotunda before stealing the flag from a room or hallway near the Rotunda
            and wrapping it around his shoulders. According to the filing, Ashcraft left
            the Capitol after about 40 minutes inside. In a sentencing memorandum
            filed in federal court, prosecutors identified Ashcraft as a former U.S.
            Marine and said his military experience made his knowledge of the flag
            burning unexpected, saying that Ashcraft would have instead been
            expected to hold the flag "sacrosanct." Ashcraft pleaded Guilty to both
            charges. Sentenced to 80 days incarceration; 36 months supervised release;
            $50 special assessment.
        10) United States v. Ryan Keith Ashlock, 1:21-cr-160 According to court records,
            videos from the Jan. 6, 2021, riot show several people who the FBI has
            assessed as members of the far-right group Proud Boys marching toward
            the Capitol. Videos show Ryan Keith Ashlock marching with this group. In
            one video, the same group, led by Proud Boys organizers Joseph Biggs and
            Ethan Nordean, is seen marching toward the entrance of the Capitol,
            according to the affidavit. Images from the riot and FBI statements link
            Ashlock to the Kansas City Proud Boys. He can be seen wearing a green
            tactical vest with orange tape affixed to the front, a gray respirator, yellow
            goggles and gray kneepads. According to the FBI, U.S. Capitol Police
            footage also shows Ashlock and several confirmed Proud Boys members
            trying to pass the barricades and officers guarding the Capitol entrance.
            Individuals are not only seen moving together but also gesturing to one
            another while moving together on the Capitol grounds, said the FBI. As the
            group tried to enter the building, Ashlock allegedly pushed on the
            barricades and law enforcement but got repelled by officers when they used
            pepper spray. Ashlock pleaded Guilty to one charge: Entering and
            Remaining in a Restricted Building or Grounds. The other charges were
            dismissed. Sentenced to 70 days of Incarceration followed by 12 months of
            Supervised Release; 100 hours of community service; $25 Special
            Assessment and Restitution of $500.
        11) United States v. Stephen Michael Ayres, 1:21-cr-156 Stephen Ayres and two
            unidentified friends filmed a video in their hotel room to “share what really
            happened” at the Capitol building and posted it on YouTube following the
            riot. According to an FBI affidavit, at some point during the video, Ayres’
            male friend claimed that “Antifa breached” the Capitol and that police
            “escorted” them into the building. He stated it was a “staged Antifa setup”
            coordinated by media, police and the mayor of Washington, D.C. In
            response, Ayers agreed that the entire incident was “definitely planned
            out.” Court documents also cite a witness who contacted the authorities
            after allegedly watching a livestream Ayers broadcasted from his Facebook
            account. According to the witness, Ayers was acting “like he was at war.”
            The witness also said that at some point during the streaming video, Ayres

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             stated that the incident at the Capitol was “just the beginning” and that
             there was “more to come next week.” Ayres pleaded Guilty to one charge:
             Disorderly and Disruptive Conduct in a Restricted Building or Grounds.
             The other charges were dismissed. Sentenced to 24 months of probation,
             $500 restitution; $25 special assessment; 100 hours community service.
         12) United States v. Stephen Maury Baker, 1:21-cr-273 Stephen Baker recorded
             live footage under the alias “Stephen Ignoramus” during the protests at the
             Capitol. Once inside, Baker is allegedly heard on tape saying: “All right,
             what’s up, y’all? How you guys doin’? Super-intense. Welcome, I am
             Stephen. I’m a livestreamer and a musician. We’re having fun, huh? Repent
             and believe in Jesus.” Baker also makes multiple references to members
             from the far-right groups The Red Elephants and Oath Keepers, identifying
             some of them by name, during his livestream. Baker is also seen on video
             saying, “I was inside for like an hour, dude. I was one of like the last 10
             people in there. ... this s*** is history.” A witness who was interviewed by
             the FBI stated that they’ve known Baker for about 10 years and were
             alarmed by the content of those videos, which included, according to the
             witness, the “advancement of conspiracy theories and mockery of minority
             groups.” Baker pleaded Guilty to one charge: Parading, Demonstrating, or
             Picketing in a Capitol Building. The other charges were dismissed.
             Sentenced to 24 months probation; 9 days intermittent incarceration; $500
             restitution; $10 special assessment.
         13) United States v. Tyler Bensch, 22-mj-184, Bensch is a member of a Florida
             right-wing militia group called the “B- Squad.” He “wore a tactical vest, as
             well as a military-style helmet with goggles and a black gas mask,” along
             with “a chemical irritant in front of the vest,” the Justice Department said.
             While other members of the “B Squad” allegedly pushed on the police line
             guarding the tunnel on the west side of the Capitol, Bensch “remained just
             outside.” After police successfully repelled the group, Bensch “used one of
             his chemical irritants to spray the face of an individual who was an
             unknown member of the crowd, even though that person posed no threat to
             him,” the Justice Department stated. He was permitted to plead guilty to
             two misdemeanor counts and was sentenced to 2-years of probation.


   https://www.npr.org/2021/02/09/965472049/the-capitol-siege-the-arrested-and-their-

   stories (last accessed June 29, 2023).

         The government noted in the filings in these cases (and virtually all others)

   that Congress and the Vice President were actually present in the Capital and were

   engaged in government proceedings at the time all the individuals in question

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   entered the capital. Thus, all of these individuals were committing their criminal

   conduct in Washington, with congresspersons and the Vice president present and

   nearby.         See.         e.g.         https://www.justice.gov/usao-dc/case-multi-

   defendant/file/1511641/download (last accessed June 29, 2023).

         Title 18 U.S.C. § 1752(a) can be punished as a felony with up to ten (10)-years

   imprisonment if a weapon is possessed during the trespass on restricted grounds, or

   bodily injury results, or as a misdemeanor with a maximum penalty of one-year of

   incarceration if not. 18 U.S.C. § 1752(b)(1) and (2). The intent of the entry into the

   restricted federal grounds does not alter the punishment in § 1752(b)(1) and (2).

   Other charges are concerned with the intent behind the trespass, such as 18 U.S.C. §

   1512(c)(2), and 40 U.S.C. § 5104(e)(2). The majority of the individuals arrested and

   charged in relation to January 6th have been permitted by the government to enter

   pleas to Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

   Title 40, United States Code, Section 5104(e)(2)(G), which is a misdemeanor. See e.g.

   United States v. Robert Ballesteros, Case No. l;21-mj-00132.

         The Defendant’s case is not a January 6th case. Like the January 6th cases,

   this case does involve a member of Congress as the victim. Unlike those cases, the

   Defendant never carried out any of the things he threatened. He never traveled or

   planned to travel to Washington. He never attempted to confront a member of

   Congress in person. He took no steps to carry out, or even have the ability to carry

   out his threat. He was remorseful. The Defendant was not motivated to disrupt the

   Congressman’s official work. Yet, the government is advocating for a far lengthier



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   sentence in this case, and charged a far more serious crime than in the majority of

   January 6th cases involving conduct beyond mere speech.



                                     CONCLUSION:

         Prosecutions for violations of 18 U.S.C. § 875(c) related to members of Congress

   vary greatly in severity, and with regard to the sentences that are imposed. Joshua

   Hall was on pre-trial release in another federal case when he made repeated calls to

   threaten a Congressperson and was sentenced to concurrent 20-month terms of

   incarceration for both cases. Justin Kuchta used a sophisticated e-mail operation to

   obtain emails for members of Congress who were to attend a live event in Missouri to

   repeatedly threaten them, and was sentenced to 4-months incarceration. Allan Poller

   made a threat of death to a Congressperson to attempt to alter their votes in relation

   to gay rights, and was sentenced at the behest of the government to a term of

   probation. Ryder Winegar communicated many threats of death to many

   Congresspersons, always attempting to get them to change their votes, and was

   sentenced to the bottom of his Guidelines range, at 33-months. Darryl Varnum

   repeatedly threatened a member of Congress to get her to alter her votes, and was

   sentenced to 6-months of home detention. Robert Lemke threatened the family of a

   New York Congressman, to include photos of the family member’s home, repeatedly

   and the Congressman himself, and sent photos from the family member’s

   neighborhood, and was sentenced to 36-months. Robert Vargo threatened numerous

   officials, including a Congressperson, and also had a state court case and lengthy



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   criminal history and was sentenced to 37-months of incarceration. Norman LeBoon

   and Carlos Bayon were sentenced to lengthy terms of incarceration for their repeated

   threats and outside conduct. Christopher McGowan posted and sent many threats to

   a Congressperson, and was sentenced to “time served.” Michael Shapiro, in this

   District, was sentenced to probation after making 12-threatening calls to a

   Congressperson and “retaliating against a federal official.”

         The Defendant has always maintained that his case is an outlier when

   compared with others for the same charged offense conduct (threatening a

   Congressperson via interstate communication). Most notably, the Defendant

   communicated a single call, not a multitude of calls and threats. The number of

   threats involved is a critical identifier of intent. This was noted by Justice

   Barrett in her concurring opinion in Counterman, and it makes perfect sense, for,

   making a multitude of calls and threats reveals no momentary lapse of reason, and

   reveals planning and connective, continuous thought. Moreover, the Defendant’s

   communication was unrelated to the Congressperson’s official duties or role as an

   official. It was not meant to influence him, or to intimidate him from carrying out his

   duties, as in almost all other cases. The Defendant, unlike many of the comparable

   cases, had no capability or ability to carry out any of the threats. The Defendant had

   no travel plans, no weapons, no research, no intent, to carry out anything of what he

   said in the voicemail. This case involves 36-seconds of the Defendant’s life, at a point

   in time when he was at one of the lowest mental health stages of his life, when he

   made a terrible choice he admitted he regretted and was remorseful for. This is far



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   less serious conduct than someone who has the immediate and apparent ability to

   carry out a threat, or who actually commits acts to carry out threatened acts.

           WHEREFORE; the Defendant, requests that this Court sentence him to a term

   of probation in this case. The conduct in this case was not planned, or the result of

   forethought or consideration; was the result of a poor decision by the Defendant

   during a mental low-point in his life; lasted less than 40-seconds; that was something

   that was not repeated; that the Defendant has expressed remorse for; that the

   Defendant has felt shame for; that the Defendant has been publicly shamed for; that

   the Defendant has felt an appropriate amount of fear from, understanding the

   possible consequences he faces for his conduct from this Court, resulting in high levels

   of anxiety which exhibit his understanding of the nature of these proceedings. The

   Defendant treated law enforcement who interviewed him and arrested him with

   nothing but respect and kindness. The Defendant indicated he understood that his

   apology call to the office of Santos would “change nothing” about how the case was

   handled, but indicated an apology was simply the right thing to do. The Defendant

   admitted his actions to his family and acknowledged the stupidity of what he had

   done.

           The Defendant has proven to be an excellent supervisee while on pre-trial

   release, and on electronic monitoring since the jury verdict in this matter. He has

   followed every requirement of U.S. Probation and this Court without fail. The

   Defendant has had a difficult life noted in the PSI, not through any choosing of his

   own, that has left him with certain vulnerabilities.



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         The Defendant’s case has been reported to, and highlighted in the press by the

   prosecution in this case. https://www.justice.gov/usao-sdfl/pr/boynton-beach-man-

   found-guilty-threatening-member-congress (last accessed May 10, 2024). 7 According

   to the government’s sentencing brief in the Poller case, the “significant consequences

   as a result of his conduct, arrest, and plea in this case,” were part of what warranted

   a sentence of probation in that case. [23-cr-00039-LM (DNH), DE:24]. According to

   the government in this case, “Allan Poller wanted to enter into a plea agreement and

   his defense counsel was able to actually negotiate a plea agreement where he only

   was needed to plead guilty to the 875 which, therefore, lowered his susceptibility to

   that higher max punishment. That just happened since this case has been pending. I

   believed that they negotiated the plea in September.” [Transcript of Selective

   Prosecution motion at page 120]. The government in that case agreed to recommend

   a sentence of probation.




   7 During the selective prosecution motion, the government informed the court that
   press releases are not generated by the Department of Justice in all prosecutions
   for threats against members of Congress. In this case an apparent decision was made
   to report the conviction by a jury to the public in a press release. In other threat cases,
   no such decision was made (according to the government- as a reason other threat
   prosecutions may exist but were not discovered by the parties for comparison to this
   case for selective prosecution). However, it seems these case are routinely the subject
   of press releases by the Department of Justice, as the Suzanne Kaye case was also
   reported to the press by the prosecution in a press release.
   https://www.justice.gov/usao-sdfl/pr/boca-raton-woman-sentenced-18-months-
   prison-threatening-shoot-fbi-agents (last accessed May 10, 2024). The government
   also issued a press release in the Michael Shapiro case. https://www.justice.gov/usao-
   sdfl/pr/greenacres-man-arrested-threatening-kill-us-congressperson-and-
   congresspersons (last accessed May 13, 2024).
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          The Defendant in this case did not make a threat to attempt to alter or

   intimidate Santos from the performance of any official duty in Congress, as was the

   case in Poller. There is no indication that Poller contacted the recipient of his threat

   to apologize, or express remorse. The government in the Poller case indicated to the

   Court, “Although the guidelines indicate a range of 10-16 months of imprisonment in

   Zone C of the sentencing table, the United States submits that this is an unusual case

   where a sentence of probation is appropriate.” [23-cr-00039-LM (DNH), DE:24]. This

   case is less serious than the case in Poller, as it did not involve a violation of 18 U.S.C.

   § 115, which the government has routinely informed the Court, is a more serious

   criminal violation than an 875(c) violation. Further, there is no indication of whether

   Poller had the capability to carry out his threat or that he apologized to his victim.

   Poller did not proceed to trial, but also had an agreement from the government to

   jointly recommend a term of probation.

          This case is unusual when compared with the other threat to Congress cases,

   and should be sentenced without the need for incarceration. The Defendant has

   understood what he did was shameful and wrong. While he disagreed that the

   conduct constituted a felony offense, because it was not a serious true threat, he has

   never disputed that the call never should have been made, and the comments he made

   were inexcusable. The public nor the victim need to be protected from the Defendant

   via incarceration.




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                                      Respectfully submitted,

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                             CERTIFICATE OF SERVICE

         I HEREBY certify that on May 13, 2024, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices

   of Electronic Filing generated by CM/ECF or in some other authorized manner for

   those counsel or parties who are not authorized to receive electronically Notices of

   Electronic Filing.

                                          By:    s/ Jan C. Smith, II AFPD




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